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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.
                                      Crim. Action No. 89-162 (EGS)
 RAYFUL EDMOND, III,

                  Defendant.


                          MEMORANDUM OPINION

I.    Introduction

      In 1990, Defendant Rayful Edmond, III (“Mr. Edmond”) was

sentenced to life in prison after a jury convicted him on

various charges stemming from his leading role in a large-scale

cocaine distribution operation in the District of Columbia.

United States v. Edmond, 52 F.3d 1080, 1087 (D.C. Cir. 1995)

(per curiam). Nearly thirty years later, the government moved to

reduce Mr. Edmond’s sentence pursuant to Federal Rule of

Criminal Procedure 35(b)(2)(C), which expressly authorizes a

district court, on the government’s motion, to reduce a

defendant’s sentence if, after sentencing, the defendant

provided substantial assistance in investigating or prosecuting

another person. During the Rule 35(b) motion hearing, the Court

heard sworn testimony from a number of witnesses, including the

Assistant United States Attorney (“AUSA”) who prosecuted this

case and testified that Mr. Edmond’s more than thirty years in
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prison and his decades-long cooperation have made him a changed

man. See generally Mot. Hr’g Tr. (Oct. 16, 2019), ECF No. 273. 1

     What troubles the Court deeply, however, is that Mr. Edmond

stands convicted of having run “the largest cocaine distribution

operation in the history of the nation’s capital.” Edmond,

52 F.3d at 1091. Although there are no statutorily defined

victims in this case, it is beyond dispute that Mr. Edmond’s

involvement in the criminal enterprise damaged this community

deeply and resulted in the destruction of the lives of many

individuals. See Joint Status Report, ECF No. 264 at 1; see also

Gov’t’s Resp., ECF No. 224 at 2. To obtain the views of the

community regarding the potential for a reduction in

Mr. Edmond’s sentence, the Court appointed the Attorney General

of the District of Columbia (the “Attorney General”) as amicus

curiae. With a sample size of more than five hundred residents,

a key conclusion from the data collected by the Attorney General

is clear: “the community is starkly divided as to whether the

Court should reduce Mr. Edmond’s sentence.” Br. of D.C. Att’y

Gen. as Amicus Curiae (“Amicus Br.”), ECF No. 246 at 4.

     The parties agree that a sentence reduction is warranted.

The parties, however, disagree on the amount by which the Court




1 When citing electronic filings throughout this Opinion, the
Court cites to the ECF page number, not the page number of the
filed document.
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should reduce Mr. Edmond’s sentence. The government recommends

Mr. Edmond’s mandatory life sentence be reduced to forty-years’

imprisonment based on its assessment of his substantial

assistance and the gravity of his crimes. Gov’t’s Resentencing

Recommendation, ECF No. 249 at 1. Seeking a greater sentence

reduction, Mr. Edmond recommends that his sentence be reduced to

a sentence of fifteen years’ incarceration, citing his

substantial assistance and the need to avoid unwarranted

sentencing disparities. E.g., Def.’s Proposed Findings of Facts

& Conclusions of Law (“Def.’s Post-Hr’g Br.”), ECF No. 300 at

18; Joint Status Report, ECF No. 264 at 2.

     In deciding the Rule 35(b) motion, the parties agree that

the Court should employ a two-part inquiry, and the Court may

consider the factors set forth in 18 U.S.C. § 3553(a). See,

e.g., Gov’t’s Mot. to Reduce Sentence (“Gov’t’s Mot.”), ECF No.

215 at 6-7; Def.’s Resp., ECF No. 228 at 2; Gov’t’s Post-Hr’g

Br., ECF No. 298 at 3. Under the Rule 35(b) two-step analysis,

the Court must first find that Mr. Edmond has provided

substantial assistance, and then decide the extent to which

Mr. Edmond’s sentence should be reduced. Contrary to the

government’s position, however, nothing in the text of Rule

35(b) limits the Court’s discretion to award a reduction by an

amount greater than the government’s recommendation. See Fed. R.

Crim. P. 35(b). The Court deems it appropriate to consider the

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Section 3553(a) factors to guide the Court’s exercise of

discretion to reduce Mr. Edmond’s sentence by an amount greater

than the government’s recommendation.

      In resolving the government’s Motion to Reduce Sentence,

the Court takes into consideration the unparalleled magnitude of

Mr. Edmond’s crimes—indeed the Court has not seen other

instances of drug dealing of this magnitude—and balances that

against the unparalleled magnitude of Mr. Edmond’s cooperation.

Upon careful consideration of the motion, the parties’

submissions, the applicable law, the entire record herein, and

for the reasons explained below, the Court concludes that:

(1) Mr. Edmond’s previously-imposed term of life imprisonment is

reduced to twenty years; and (2) a life term of supervised

release is warranted. Therefore, the Court GRANTS the

government’s motion.

II.   Background

        A. Factual and Procedural Background

      Between 1985 and 1989, Mr. Edmond led a large-scale cocaine

distribution conspiracy. Edmond, 52 F.3d at 1091. Mr. Edmond’s

operation generated millions of dollars from the wholesale and

retail distribution of cocaine and crack cocaine. Presentence

Report (“PSR”) (Aug. 27, 1990), ECF No. 230 at 6 ¶ 5. According

to the government, Mr. Edmond and his associates were

“unscrupulous in their pursuit of cold cash,” and their

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collection of valuable items included: “[e]pensive cars,

thousand dollar shirts, gold medallions worth $60,000, diamond

encrusted Rolex watches, swimming pools, hundreds of tennis

shoes, and wads of $100 bills[.]” Gov’t’s Mem. in Aid of

Sentencing, ECF No. 253 at 4. In April 1989, Mr. Edmond was

arrested on various criminal charges. Edmond, 52 F.3d at 1083.

Mr. Edmond was committed without bond on April 15, 1989. PSR,

ECF No. 230 at 1.

              1. Mr. Edmond’s Conviction

     On December 6, 1989, a jury found Mr. Edmond guilty of the

following crimes: (1) engaging in a continuing criminal

enterprise (“CCE”), in violation of 21 U.S.C. §§ 848(b), 853

(“Count One”); (2) conspiracy to distribute and possess with

intent to distribute more than 5 kilograms of cocaine and more

than 50 grams of cocaine base, in violation of 21 U.S.C. § 846

(“Count Two”); (3) unlawfully employing a person under 18 years

of age, in violation of 21 U.S.C. § 845(b) (recodified at 21

U.S.C. § 861) (“Count Five”); (4) interstate travel in aid of

racketeering, in violation of 18 U.S.C. § 1952(a) (“Count

Eleven”); and (5) unlawful use of a communications facility, in

violation of 21 U.S.C. § 843(b) (“Counts Fourteen, Fifteen,

Sixteen, and Eighteen”). E.g., Edmond, 52 F.3d at 1087; Crim.

Docket, ECF No. 1 at 9.

     To calculate the sentencing range under the United States

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Sentencing Commission’s (“Sentencing Commission”) 1989

Guidelines Manual, Mr. Edmond’s conviction for Count One was

excluded from the calculations because that crime carries a

mandatory life sentence. E.g., PSR, ECF No. 230 at 14 ¶ 28;

Probation Mem., ECF No. 265 at 2 n.1. Mr. Edmond’s convictions

for Counts Two, Five, Eleven, Fourteen, Fifteen, Sixteen, and

Eighteen were grouped together pursuant to U.S.S.G. § 3D1.2(d).

PSR, ECF No. 230 at 14 ¶ 28. The base offense level was 36

because the “offenses involv[ed] the distribution of more than

50 kilograms of cocaine” under U.S.S.G. § 2D1.1(a)(3). Id.; see

also Sentencing Hr’g Tr. (Sept. 17, 1990), ECF No. 255 at 53

(finding that the conspiracy involved “more than 50 kilograms of

cocaine and more than 500 grams of cocaine base”).

     Mr. Edmond’s base offense level was then increased by six

levels. See PSR, ECF No. 230 at 14 ¶¶ 30-31, 15 ¶¶ 32-34; see

also Sentencing Hr’g Tr., ECF No. 255 at 53-56. First, two

levels were added for the possession of a dangerous weapon

during the commission of the offense under U.S.S.G.

§ 2D1.1(b)(1). Id. at 14 ¶ 30; see also Sentencing Hr’g Tr., ECF

No. 255 at 53 (finding that “one or more of [Mr. Edmond’s] co-

conspirators knowingly possessed a firearm during the course of

the conspiracy of which [Mr. Edmond stood] convicted and that

such possession was reasonably foreseeable to [Mr. Edmond]”).

Next, four levels were added as a role adjustment under U.S.S.G.

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§ 3B1.1(a) because “[Mr. Edmond] was the leader of an

organization involving more than five participants.” PSR, ECF

No. 230 at 14 ¶ 31; see also Sentencing Hr’g Tr., ECF No. 255 at

55-56. Although the PSR added two levels for an obstruction of

justice adjustment under U.S.S.G. § 3C1.1, the sentencing judge

ultimately rejected that adjustment. See PSR, ECF No. 230 at 15

¶ 33; see also Sentencing Hr’g Tr., ECF No. 255 at 56. As a

result, the adjusted offense level was 42. Def.’s Am. Sentencing

Mem., ECF No. 260 at 8.

              2. Mr. Edmond’s Sentence

     Judge Charles R. Richey sentenced Mr. Edmond on February

13, 1990, and entered the Judgment and Commitment on February

16, 1990. Judgment & Commitment (“J & C”) (Feb. 16, 1990), ECF

No. 250 at 1. Judge Richey sentenced Mr. Edmond to life

imprisonment on Counts One, Two, and Five; sixty months on Count

Eleven; and forty-eight months on Counts Fourteen, Fifteen,

Sixteen, and Eighteen. Id. at 2. Judge Richey ordered the

sentences to run concurrently. Id. Judge Richey imposed the

following terms of supervised release: (1) eight years on Count

Five; (2) four years on Count Two; and (3) three years on Counts

Eleven, Fourteen, Fifteen, Sixteen, and Eighteen, to run

concurrently. Id. at 3. Judge Richey ordered Mr. Edmond to pay a

special assessment of $400. Id.



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     On July 30, 1990, the United States Court of Appeals for

the District of Columbia Circuit (“D.C. Circuit”), on its own

motion, vacated the sentences of Mr. Edmond and his co-

defendants, and remanded the cases for resentencing. E.g.,

United States v. Edmond, No. 90-3049 (D.C. Cir. July 30, 1990)

(per curiam) (unpublished); App., No. 15-3063 (D.C. Cir. Mar.

10, 2016), Doc. 1603360 at 113-14; Gov’t’s Consolidated Br.,

United States v. Jones, Nos. 15-3063, 15-3064, 2016 WL 3213186,

at *4 (D.C. Cir. June 10, 2016); PSR, ECF No. 230 at 3; Crim.

Docket, ECF No. 1-1 at 23. Following the directive of the D.C.

Circuit, Mr. Edmond “was brought before [Judge Richey] for

resentencing on September 17, 1990[.]” Order, ECF No. 219 at 1.

     On that day, Judge Richey sentenced Mr. Edmond to the

following concurrent terms of imprisonment: (1) mandatory life

without parole on Count One; (2) life without parole on Counts

Two and Five; (3) sixty months on Count Eleven; and (4) forty-

eight months on Counts Fourteen, Fifteen, Sixteen, and Eighteen.

E.g., J & C (Sept. 19, 1990), ECF No. 217 at 2. Judge Richey

imposed the following terms of supervised release: (1) eight

years on Count Five; (2) four years on Count Two; and (3) three

years on Counts Eleven, Fourteen, Fifteen, Sixteen, and

Eighteen, to run concurrently. Id. at 3. Judge Richey ordered

Mr. Edmond to pay a special assessment of $400. Id. Judge Richey

made clear that the September 19, 1990 Judgment and Commitment

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“represents the final and only sentence of [Mr. Edmond]” in this

case. Order, ECF No. 219 at 1.

     On April 28, 1995, the D.C. Circuit vacated Mr. Edmond’s

conviction for Count Two pursuant to the parties’ agreement.

Edmond, 52 F.3d at 1108, 1113. Mr. Edmond’s conviction for Count

One—the conviction for engaging in a CCE under 21 U.S.C. §

848(b)—was based, in part, upon a finding that he engaged in a

conspiracy under 21 U.S.C. § 846 (Count Two). Id. at 1107-08.

The government agreed that it was impermissible for Mr. Edmond

to be subjected to cumulative penalties for violations of

Section 846 and Section 848. Id. at 1108. Mr. Edmond’s

convictions for the other counts remained the same. See id. at

1113.

     According to the PSR, Mr. Edmond had three pending counts

of first-degree murder while armed and one count of using and

carrying a firearm in connection with a drug trafficking

offense. PSR, ECF No. 230 at 15 ¶ 41. Judge Richey severed those

offenses from the conspiracy and drug-related charges. Edmond,

52 F.3d at 1084. The government did not adduce evidence of any

violent crimes at the 1989 trial. See Gov’t’s Resp., ECF No. 224

at 4. On January 3, 1991, Judge Richey entered an Order

dismissing without prejudice Count Twenty-One of the indictment

charging Mr. Edmond with homicide. Order (Jan. 3, 1992), Crim.

Docket, ECF No. 1-1 at 76. The parties agree that those charges

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were dismissed and never pursued against Mr. Edmond. See, e.g.,

Gov’t’s Resp., ECF No. 224 at 4 n.2; Gov’t’s Mot., ECF No. 215

at 2 n.1; Joint Status Report, ECF No. 264 at 2. To date,

Mr. Edmond has served nearly thirty-two years in prison.

               3. Mr. Edmond’s Conviction and Sentence in the
                  Middle District of Pennsylvania

      While serving his sentence at the United States

Penitentiary in Lewisburg, Pennsylvania (“USP Lewisburg”),

Mr. Edmond was charged in a criminal information in the United

States District Court for the Middle District of Pennsylvania

following a two-year wiretap investigation. See generally

Information (filed Aug. 6, 1996), ECF No. 291 at 1-8; see also

Mot. Hr’g Tr., ECF No. 273 at 46. 2 From 1992 to 1994, Mr. Edmond

used his prison privileges (i.e. telephone, visitation, and

mailing) at USP Lewisburg to broker drug deals between his

associates in the District of Columbia metropolitan area and his

fellow inmates with connections to individuals at cocaine

production facilities in Colombia, South America. Plea Hr’g Tr.

(Aug. 8, 1996), ECF No. 295 at 6-7.

     On August 8, 1996, Mr. Edmond pled guilty to conspiracy to


2 The Court takes judicial notice of the proceedings and court
records in United States v. Rayful Edmond III, Crim. Action
No. 96-203 (M.D. Pa.). See Luke v. United States, No. 13-5169,
2014 WL 211305, at *1 (D.C. Cir. Jan. 13, 2014). The Clerk of
Court docketed certain records from Mr. Edmond’s Middle District
of Pennsylvania case in this case. See generally Docket for
Crim. Action No. 89-162.
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possess with the intent to distribute more than five kilograms

of cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and 846, in

the Middle District of Pennsylvania. Plea Agreement (filed Aug.

6, 1996), ECF No. 292 at 1-19. Eleven months later, on July 23,

1997, Judge Malcolm Muir of the Middle District of Pennsylvania

sentenced Mr. Edmond to thirty years of imprisonment, to be

followed by a ten-year term of supervised release. E.g., J & C

(M.D. Pa. July 24, 1997), ECF No. 241-1 at 2-3; Sentencing Hr’g

Tr. (M.D. Pa. July 23, 1997), ECF No. 296 at 41-42. Judge Muir

ordered and signed a forfeiture decree in the amount of

$200,000. J & C, ECF No. 241-1 at 3.

     Because Judge Muir did not order Mr. Edmond’s sentence to

run concurrently with his previously-imposed sentence in this

Court, Mr. Edmond’s sentence in the Middle District of

Pennsylvania runs consecutively to his sentence in this case.

See J & C (M.D. Pa. July 24, 1997), ECF No. 241-1 at 2; see also

18 U.S.C. § 3584(a) (“Multiple terms of imprisonment imposed at

different times run consecutively unless the court orders that

the terms are to run concurrently.”). The parties agree that

Mr. Edmond will begin serving his sentence in the Middle

District of Pennsylvania upon the completion of his sentence in

this case. See Gov’t’s Mot., ECF No. 215 at 8 n.5; see also

Def.’s Am. Sentencing Mem., ECF No. 260 at 10 n.8.



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               4. Mr. Edmond’s Cooperation

     In 1994, law enforcement officials approached Mr. Edmond

about cooperating with the government, and he orally agreed to

do so. Mot. Hr’g Tr., ECF No. 273 at 46-47, 58, 64, 70, 74; see

also Gov’t’s Decl., ECF No. 264-1 at 3 (“From 1990-94,

[Mr. Edmond] assisted with at least 20 cold cases.”). Mr. Edmond

executed a written agreement to cooperate in early 1995. Gov’t’s

Mot. for Sentencing Reduction, United States v. Constance D.

Perry (“Perry”), Crim. Action No. 89-162-24, ECF No. 293 at 5 ¶

10. Mr. Edmond agreed to offer substantial assistance while

incarcerated at USP Lewisburg, a maximum-security institution,

with inmates who were “among the most dangerous recidivists in

the nation.” Id. (“Had other inmates learned of [Mr.] Edmond’s

cooperation, he would have been killed.”). And “[d]espite

imminent danger, [Mr.] Edmond agreed to cooperate.” Id.

     Pursuant to the terms of the plea agreement in the Middle

District of Pennsylvania case, the government agreed to file a

Rule 35(b) motion on behalf of Mr. Edmond’s mother and co-

defendant—Constance D. Perry (“Ms. Perry”)—in exchange for his

substantial assistance. See, e.g., Plea Agreement, ECF No. 292

at 5-6 ¶ 10. Mr. Edmond acknowledged that his substantial

assistance would not result in the filing of a Rule 35(b) motion

on his behalf. Id. at 7 ¶ 11. In other words, Mr. Edmond’s

cooperation solely benefited Ms. Perry as the third-party

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beneficiary of the plea agreement, and Ms. Perry would receive a

sentence reduction based on Mr. Edmond’s substantial assistance

as prescribed in the government’s Rule 35(b) motion in Ms.

Perry’s case. Id.

                    a. Mr. Edmond’s Substantial Assistance as the
                       Basis for the Rule 35(b) Motion in
                       Ms. Perry’s Case

     In moving for a sentence reduction for Ms. Perry on October

1, 1997, the government set forth the extent, nature, and value

of Mr. Edmond’s substantial assistance. See generally Gov’t’s

Mot. for Sentencing Reduction, United States v. Constance D.

Perry, Crim. Action No. 89-162-24, ECF No. 293 at 5 ¶ 9 (“Since

July 20, 1994, [Mr. Edmond] has rendered substantial assistance

to the Government in the prosecution and investigation of

others.”). 3 The government explained that Mr. Edmond’s

cooperation could be divided into four categories. Id. at 5 ¶

10, 5 ¶¶ 10-11, 6-7 ¶ 12, 7 ¶ 13, 7-8 ¶ 14, 8 ¶ 15.


3 In 1990, Judge Richey sentenced Ms. Perry to 293 months of
imprisonment following her conviction for conspiracy to
distribute cocaine. Gov’t’s Notice to Def. of Intent to File
Mot. for Sentencing Reduction, ECF No. 286 at 1 ¶ 1. On July 2,
1996, Judge Richey resentenced Ms. Perry to 170 months of
imprisonment in accordance with a decision from the D.C.
Circuit, which “did not reflect any reduction based upon the
cooperation of [Mr. Edmond], but was based solely upon [the D.C.
Circuit’s] requirement to conduct a resentencing hearing.” Id.
at 3 ¶ 7. On June 2, 1998, Judge John Garrett Penn, having been
reassigned the case, reduced Ms. Perry’s previously-imposed
sentence to time-served. E.g., Resentencing Hr’g Tr. (June 2,
1998), ECF No. 285 at 17; Revised J & C (June 29, 1998), ECF No.
294 at 1-2.
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     First, “[Mr.] Edmond agreed to work with the Government in

a covert drug investigation commencing [in August 1994].” Id. at

5 ¶ 10. Next, Mr. Edmond testified as a government witness in

two criminal trials in the Middle District of Pennsylvania:

(1) in the first trial, his testimony contributed to at least

two of his fellow inmates (Freddie Aguilera and Nelson Garcia)

being convicted and sentenced to life in prison for agreeing to

ship cocaine from Colombia to Mr. Edmond’s associates in the

District, id. at 5-6 ¶ 11; and (2) in the second trial, his

testimony over the course of eight days led to the convictions

of two individuals (Michael A. Jackson and James Marshall

Corbin), id. at 6 ¶ 12.

     Third, “[Mr.] Edmond participated in the reverse undercover

sting of DC drug dealers who had been the recipients of cocaine

shipped at his behest to them in 1992 from the Trujillo-Blanco

Colombian cartel family.” Id. at 7 ¶ 13. In August 1996,

Mr. Edmond invited those targets to purchase cocaine from a

shipment that would be delivered to the District, and the

undercover operation led to “the seizure of $190,000 in drug

proceeds.” Id. In April 1997, Judge Thomas F. Hogan accepted

Mr. Edmond’s testimony that resolved a dispute regarding the

1992 drug conduct of two conspirators, and his testimony was

corroborated by wiretap evidence. Id. In the end, the undercover

operation led to the convictions of eight defendants: (1) Rodney

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Murphy; (2) Jimmy Robinson; (3) Lecount Jackson; (4) Adolph

Jackson; (5) Darrell Coles; (6) Marcus Haynes; (7) Johnny

Cherry; and (8) Christopher Johnson. Id.

      Finally, Mr. Edmond provided the Field Office of the

Federal Bureau of Investigation (“FBI”) in Philadelphia,

Pennsylvania, with information regarding two homicides that were

committed at USP Lewisburg in 1994, and Mr. Edmond was expected

to testify as a government witness at the trials for both

homicides. Id. at 7-8 ¶ 14. Also, the government indicated that

Mr. Edmond was willing to provide testimony in the fall of 1997,

with the approval of the Deputy Attorney General of the United

States, to “various Congressional oversight committees that

[were] investigating issues involving drug trafficking and

prison reform.” Id. at 8 ¶ 15.

     The government summarized Mr. Edmond’s cooperation as

follows:

           [Mr.] Edmond’s assistance to law enforcement
           has proven to be very substantial and has
           directly led to numerous convictions of major
           national and international drug traffickers.
           In addition, [Mr.] Edmond has provided law
           enforcement with information that may help the
           Bureau    of    Prisons  reconsider   policies
           regarding    privileges  granted   to  maximum
           security inmates that are inconsistent with
           the Bureau of Prison’s mission to incapacitate
           certain inmates. Finally, [Mr.] Edmond’s
           cooperation and the attendant publicity may
           have helped rectify serious social problems in
           D.C. by demoralizing other drug dealers. His
           cooperation has also helped to dispel his

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          legendary image among the drug culture and now
          serves to discourage others from imitating his
          conduct as a drug king-pin.

Id. at 8-9 ¶ 16.

                   b. Mr. Edmond’s Substantial Assistance as the
                      Basis for the Rule 35(b) Motion in this Case

     After Ms. Perry’s sentence reduction, Mr. Edmond continued

to cooperate with the government, and “[i]t is that cooperation

that serves as the basis for this motion.” Gov’t’s Mot., ECF No.

215 at 3; see also Def.’s Am. Sentencing Mem., ECF No. 260 at 4

(“Mr. Edmond’s cooperation formally ended in approximately

2014.”). Mr. Edmond “provided general background information

from 1999 to 2015.” Gov’t’s Decl., ECF No. 264-1 at 3.

     The government divides Mr. Edmond’s cooperation from 1998

through the fall of 2014 into the following four categories:

          [i] providing testimony for the government at
          criminal trials, [ii] providing background
          information to the government to assist with
          ongoing narcotics trafficking investigations,
          [iii]    providing   background    information
          pertaining to the investigations of cold case
          homicides, and [iv] providing information to
          the government to assist in instituting prison
          reforms intended to curtail inmates’ ability
          to conduct criminal activities.

Gov’t’s Mot., ECF No. 215 at 3-4.

                              i. Testimony at Criminal Trials

     In 2002, Mr. Edmond testified as a government witness for

approximately four days in the trial of six defendants in United

States v. Kevin L. Gray, et al., Crim. Action No. 00-157, before

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Judge Royce C. Lamberth. Id. at 4. Prior to his arrest in 1989,

Mr. Edmond had conducted drug transactions with many of the

defendants in that case. Id. As noted by the government, “[t]he

Gray racketeering drug enterprise covered criminal activity

spanning more than a decade and was perhaps the most violent

drug trafficking group ever prosecuted in this district.” Id.;

see also Mot. Hr’g Tr., ECF No. 273 at 61 (Barbara Watkins:

“Kevin Gray and his crew were responsible for over 30 homicides

in the D.C. area.”). Mr. Edmond’s testimony led to the

convictions of all six defendants for “RICO conspiracy and

related charges in connection with multiple first-degree murders

and drug offenses.” Letter from Amy Jeffress (Dec. 27, 2019),

ECF No. 301 at 1.

     In 2003, Mr. Edmond testified as a government witness in a

trial concerning drug trafficking in the Western District of

North Carolina. Gov’t’s Mot., ECF No. 215 at 4. In addition,

Mr. Edmond “was prepared to testify in a second case in this

district, but the case was resolved via a guilty plea, in part

due to the defendant’s cooperation.” Id.

                             ii. Background Information for Ongoing
                                 Narcotics Trafficking
                                 Investigations

     Mr. Edmond “has supplied background and associational

information that has been used in drug trafficking

investigations; in particular, his information has been used in

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numerous wiretap investigations.” Id. (noting that Mr. Edmond’s

“information was not the sole basis for the wiretaps in any of

these investigations”). The government asserts that “[b]ased, in

part, on [Mr. Edmond’s] assistance in this regard, over 100 drug

dealers were arrested, prosecuted, and convicted.” Id. The

government avers that the information from Mr. Edmond and others

was “used to obtain wiretaps in narcotics investigations” in

twelve different matters. Gov’t’s Decl., ECF No. 264-1 at 1.

     In the first matter, the wiretap led to thirty-nine

indictments involving sixty-five defendants. Id. at 2. The

wiretap in the second matter led to five indictments involving

fourteen defendants. Id. In the third matter, the wiretap led to

one indictment involving twenty-two defendants. Id. The wiretap

in the fourth matter led to one indictment involving fourteen

defendants. Id. In the fifth matter, the wiretap led to three

indictments involving twenty-seven defendants. Id. The wiretap

in the sixth matter led to fifteen indictments involving twenty-

nine defendants. Id. In the seventh matter, the wiretap led to

four indictments involving thirty-six defendants. Id. The

wiretap in the eighth matter led to five indictments involving

five defendants. Id. In the ninth matter, the wiretap led to

sixteen indictments involving fifty-eight defendants. Id. The

wiretap in the tenth matter led to ten indictments involving

thirty defendants. Id. In the eleventh matter, the wiretap led

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to two indictments involving twelve defendants. Id. Finally, the

wiretap in the twelfth matter led to ten indictments involving

twenty-eight defendants. Id.

                           iii. Information Concerning Cold Case
                                Homicides

     Mr. Edmond “has provided information to local law

enforcement investigating cold case homicides,” including “a

significant amount of information concerning relevant

relationships.” Gov’t’s Mot., ECF No. 215 at 5. Mr. Edmond

“participated in monthly telephone calls with AUSA John

Dominguez, who relayed questions from law enforcement, which

allowed them to collect information about relationships between

the decedents and suspects not otherwise known to the

investigators.” Gov’t’s Decl., ECF No. 264-1 at 2. Mr. Edmond

“has often been able to provide information to investigators

regarding friendships, rivalries, or feuds, among decedents and

suspects.” Gov’t’s Mot., ECF No. 215 at 5.

     Mr. Edmond’s information assisted law enforcement with

“focus[ing] [its] attention on others once learning that a

suspect had a motive to commit murder even when those murders

occurred after the defendant has been incarcerated.” Gov’t’s

Decl., ECF No. 264-1 at 2. The government notes that “none of

[Mr. Edmond’s] information about cold cases led directly to

arrests,” but “the information helped homicide detectives focus


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limited resources by relating historical information about which

drug dealer was allied with whom and which dealer was arguing

with another dealer.” Id. at 2-3. Mr. Edmond’s information

contributed to the “local cold case squad . . . solving old

homicides in the District of Columbia.” Id. at 2.

                             iv. Information for Instituting Prison
                                 Reforms

     Following Mr. Edmond’s drug trafficking operation at USP

Lewisburg, the Office of the Inspector General (“IG”) of the

United States Department of Justice (“DOJ”) opened an

investigation into the telephone and visitation privileges at

federal prisons. Gov’t’s Mot., ECF No. 215 at 5. Mr. Edmond

“spent hours explaining to IG officials how he and other inmates

had exploited their prison telephone privileges for criminal

purposes.” Id. In response to the information provided by Mr.

Edmond and others, the Bureau of Prisons (“BOP”) “completely

revamped the inmate telephone system, eliminating inmates’

ability to make three way/conference calls and long distance

calls.” Id. Additionally, BOP and law enforcement officials

began vetting the calls by inmates and restricting their access

to pre-approved telephone numbers. Id.

     In April 2000, an IG official testified before the

Subcommittee on Criminal Justice Oversight of the United States

Senate Judiciary Committee concerning the “Use of Prison


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Telephones by Federal Inmates to Commit Crime.” Statement of

Glenn A. Fine, U.S. Dep’t of Justice (Apr. 6, 2000),

https://oig.justice.gov/node/729. According to this testimony,

IG officials interviewed Mr. Edmond “about his experience using

prison telephones to commit crimes” and “[Mr.] Edmond said that

he had little concern about conducting drug deals using prison

telephones because he knew that most calls were not being

monitored.” Id. Based on the interviews with Mr. Edmond and

others, the IG officials recognized that “the problem [was]

significant,” and they recommended that “BOP take steps to curb

prison telephone abuse.” Id. The IG’s review reached a number of

conclusions, including that the “inmate call monitoring system

[was] ineffective,” and it “highlighted the serious nature of

inmate abuse of prison telephones, including murders and drug

deals arranged using BOP telephones.” Id.

       B. The Government’s Rule 35(b) Motion

     On August 22, 2018, Mr. Edmond filed a motion to compel the

government to file a motion to reduce his sentence. See

generally Def.’s Sealed Mot. to Compel, ECF No. 202; see

generally Def.’s Resp., ECF No. 268. 4 Months later, on February

15, 2019, the government filed the instant motion pursuant to




4 The case was randomly reassigned to the Court on August 28,
2018 due to the death of Judge John Garrett Penn. Min. Entry of
Aug. 28, 2018.
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Rule 35(b)(2)(C) based on Mr. Edmond’s substantial assistance.

Gov’t’s Mot., ECF No. 215 at 1. Thereafter, Mr. Edmond filed his

response. See Def.’s Sealed Resp., ECF No. 220-2 at 1-3; see

also Def.’s Redacted Resp., ECF No. 221 at 1-3.

     On May 21, 2019, the Court held a status hearing, and the

parties agreed that the Court should adopt the two-step inquiry

to evaluate the government’s Rule 35(b) motion. Status Hr’g Tr.

(May 21, 2019), ECF No. 236 at 6-7, 44-45. The Court appointed

the Attorney General as amicus curiae on May 24, 2019, 5 and

directed amicus curiae to file a brief regarding the views of

the community as to whether to reduce Mr. Edmond’s sentence.

Min. Orders of May 24, 2019. 6 The Attorney General filed the

amicus brief on August 30, 2019, see Amicus Br., ECF No. 246 at

4; and neither party responded to the amicus brief, see

generally Docket for Crim. Action No. 89-162.

     The government filed its sentencing recommendation on

September 6, 2019, see Gov’t’s Resentencing Recommendation, ECF



5 The Court expresses its sincere appreciation to the Attorney
General and the Office of the Attorney General.
6 The Court ordered briefing on how it “may obtain the views of
victims, family members of victims, and members of the
community, including whether the Attorney General for the
District of Columbia could appropriately represent the views of
the members of the community.” Min. Order of Mar. 6, 2019. The
parties agree that there were no statutorily defined victims in
this case. See Gov’t’s Resp. to Court’s Minute Order, ECF
No. 224 at 2, 9-11; see also Def.’s Resp. to Court’s Minute
Order, ECF No. 228 at 1.
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No. 249 at 1; Mr. Edmond then filed his sentencing memorandum on

October 2, 2019, see Def.’s Am. Sentencing Mem., ECF No. 260 at

9-10; and the government filed its response on October 9, 2019,

see generally Gov’t’s Resp., ECF No. 263.

     On October 16, 2019, the Court held a motion hearing, at

which Mr. Edmond, the lead prosecutor, former law enforcement

officials, and community leaders testified. Min. Entry of Oct.

16, 2019. The Court heard sworn testimony from the following

eight witnesses called by Mr. Edmond: (1) AUSA John Dominguez

(“Mr. Dominguez”); (2) Barbara Watkins (“Ms. Watkins”);

(3) Steven Benjamin (“Mr. Benjamin”); (4) Rick Watkins

(“Mr. Watkins”); (5) Tyrone Parker (“Mr. Parker”);

(6) Rev. Willie Wilson (“Rev. Wilson”); (7) Rev. Thson Rowe

(“Rev. Rowe”); and (8) Bishop Patrina Steadman

(“Bishop Steadman”). Id. As explained below, the Court credits

the testimony of each witness. The government declined to cross

examine Mr. Edmond and the other witnesses. See generally Mot.

Hr’g Tr., ECF No. 273.

     On December 9, 2019, the government filed a post-hearing

brief and proposed findings of fact. See generally Gov’t’s Post-

Hr’g Br., ECF No. 298; see generally Gov’t’s Proposed Findings

of Fact, ECF No. 299. Mr. Edmond filed his post-hearing

submission on January 10, 2020. See generally Def.’s Post-Hr’g

Br., ECF No. 300.

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       The briefing is now complete, and the motion is ripe and

 ready for the Court’s adjudication.

III.   Legal Standard

       “Federal courts are forbidden, as a general matter, to

 ‘modify a term of imprisonment once it has been imposed,’

 18 U.S.C. § 3582(c); but the rule of finality is subject to a

 few narrow exceptions.” Freeman v. United States, 564 U.S. 522,

 526 (2011). One such exception is Rule 35 of the Federal Rules

 of Criminal Procedure. 18 U.S.C. § 3582(c)(1)(B) (“[T]he court

 may modify an imposed term of imprisonment to the extent

 otherwise expressly permitted . . . by Rule 35[.]”). “Rule 35

 delineates a limited set of circumstances in which a sentence

 may be corrected or reduced,” and “it authorizes a reduction for

 substantial assistance on the Government’s motion, Rule 35(b).”

 Dillon v. United States, 560 U.S. 817, 828 (2010).

       Rule 35(b)(2)(C) provides that “[u]pon the government’s

 motion made more than one year after sentencing, the court may

 reduce a sentence if the defendant’s substantial assistance

 involved . . . information the usefulness of which could not

 reasonably have been anticipated by the defendant until more

 than one year after sentencing and which was promptly provided

 to the government after its usefulness was reasonably apparent

 to the defendant.” “In evaluating whether the defendant has

 provided substantial assistance, the court may consider the

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defendant’s presentence assistance.” Fed. R. Crim. P. 35(b)(3).

And “the court may reduce the sentence to a level below the

minimum sentence established by statute.” Fed. R. Crim. P.

35(b)(4).

      The decision to grant or deny a Rule 35(b) motion is within

the district court’s discretion. E.g., United States v. Pollard,

865 F.2d 1330, 1988 WL 145115, at *1 (D.C. Cir. 1988); United

States v. Hooton, 693 F.2d 857, 859 (9th Cir. 1982) (“A Rule 35

motion is essentially a plea for leniency and is addressed to

the sound discretion of the district court.”). “[I]n deciding a

Rule 35(b) motion, a district court makes two inquiries. First,

it must determine whether the defendant in fact provided

substantial assistance. Second, if so, it must then determine

what, if any, reduction in sentence is warranted.” United States

v. Katsman, 905 F.3d 672, 674 (2d Cir. 2018) (citing United

States v. Tadio, 663 F.3d 1042, 1047-48 (9th Cir. 2011), cert.

denied, 566 U.S. 1029 (2012); United States v. Park, 533 F.

Supp. 2d 474, 476 (S.D.N.Y. 2008)).

IV.   Analysis

      The main dispute in this case is the amount by which the

Court should reduce Mr. Edmond’s sentence. The parties agree on

three threshold matters that are critical to the Court’s Rule

35(b) analysis. First, Mr. Edmond has provided substantial

assistance to the government. See Gov’t’s Mot., ECF No. 215 at

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3-7; see also Def.’s Am. Sentencing Mem., ECF No. 260 at 1-4.

Second, Mr. Edmond is eligible for a discretionary sentence

reduction under Rule 35(b)(2)(C). See Gov’t’s Mot., ECF No. 215

at 1, 7; see also Def.’s Am. Sentencing Mem., ECF No. 260 at 1,

9-10. Third, the Court may consider the factors set forth in 18

U.S.C. § 3553(a) to reduce Mr. Edmond’s sentence. See Gov’t’s

Mot., ECF No. 215 at 6; see also Def.’s Resp., ECF No. 228 at 2.

     The parties, however, disagree on the extent of

Mr. Edmond’s sentence reduction at the second step of the Rule

35(b) analysis. The government recommends a forty-year prison

term, and Mr. Edmond recommends a fifteen-year prison term. See

Gov’t’s Resentencing Recommendation, ECF No. 249 at 1; see also

Joint Status Report, ECF No. 264 at 2. Mr. Edmond asserts that

the government’s recommendation is a starting point for the

Court’s analysis, and he argues that it is within the Court’s

discretion to reduce his sentence by an appropriate amount when

considering his substantial assistance and the Section 3553(a)

factors. Def.’s Post-Hr’g Br., ECF No. 300 at 9. The government,

however, contends that “this Court may consider those factors

only to grant a smaller reduction than requested by the

government, not to increase the reduction beyond the amount

justified by the defendant’s assistance alone.” Gov’t’s Post-

Hr’g Br., ECF No. 298 at 3. In the government’s view, “the scope

and purpose of this Rule 35 proceeding is exceedingly narrow.”

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Id. at 4.

     Before analyzing the parties’ arguments, the Court first

finds that Mr. Edmond has provided substantial assistance. The

Court then considers the factors set forth in 18 U.S.C.

§ 3553(a) to determine the extent of the reduction, concluding

that the Court may reduce Mr. Edmond’s sentence by an amount

greater than what the government has recommended in this case.

       A. Mr. Edmond Has Provided Substantial Assistance

     The Court begins the two-step analysis with “determin[ing]

whether [Mr. Edmond] has offered substantial assistance

sufficient to trigger [the Court’s] authority to reduce [his]

sentence.” Tadio, 663 F.3d at 1047. At the first step of the

analysis, “the district court does not consider the facts of the

defendant’s crime, the defendant’s personal characteristics, or

any other § 3553(a) factors.” Tadio, 663 F.3d at 1048. “Rule

35(b) departures address only postsentencing cooperation with

the Government, not postsentencing rehabilitation generally, and

thus a defendant with nothing to offer the Government can gain

no benefit from Rule 35(b).” Pepper v. United States, 562 U.S.

476, 502 n.15 (2011). For the reasons explained below, the Court

finds that Mr. Edmond has provided substantial assistance to the

government.

     Mr. Edmond’s cooperation from 1998 to 2014 serves as the

basis of the government’s Rule 35(b) motion. See Gov’t’s Mot.,

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ECF No. 215 at 1, 3. The government maintains that Mr. Edmond

“has provided substantial assistance in the investigation and

prosecution of others, and this assistance was provided more

than one year after his sentencing in this matter.” Id. at 1.

And the government asserts that Mr. Edmond’s “cooperation has

been both deep and wide.” Id. at 7.

     According to the government, “Mr. Edmond was ready, willing

and able to testify in several significant drug trafficking

cases in the District of Columbia and in a Federal District in

North Carolina.” Mot. Hr’g Tr., ECF No. 273 at 27.

Mr. Dominguez, one of the lead prosecutors in the Edmond case,

explained that “the practice of the U.S. Attorney’s Office, when

it comes to providing assessment for substantial assistance to

law enforcement, is that a witness” must “testify or [be]

willing to testify.” Id. at 91. For example, Mr. Edmond was

willing to testify as a government witness in a drug trafficking

case against Bill Willis and “Dump Truck Smitty.” Id. Although

Bill Willis pled guilty, Mr. Dominguez explained that Mr. Edmond

is “not deprived of an opportunity to get a benefit for being

willing to cooperate just because somebody decides to plead

guilty.” Id. at 91-92.

     Mr. Dominguez worked closely with Mr. Edmond as he

cooperated with the government over the years, and he testified

that the “value [of Mr. Edmond] as a cooperator was tremendous.”

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Id. at 101-102. When asked to rank Mr. Edmond’s cooperation,

Mr. Dominguez testified that: (1) it was “off the chart”;

(2) “[it was] extraordinary”; and (3) no other cooperation

compares to Mr. Edmond’s cooperation during his tenure as an

AUSA for thirty-five years and as the head of the Organized

Crime Drug Enforcement Task Force program in the U.S. Attorney’s

Office. Id. at 98.

     Mr. Benjamin and Mr. Watkins both testified that

Mr. Edmond’s assistance to the government was useful, truthful,

and exceptional. Mr. Benjamin, a former FBI Special Agent,

testified that Mr. Edmond’s cooperation was “[e]xceptional in

every way” based on his experience of working on several drug

cases and with hundreds of cooperators during his career. Id. at

55. On a scale of one to ten, Mr. Benjamin rated Mr. Edmond’s

cooperation at eleven. Id. at 57. Similarly, Mr. Watkins, a

retired police officer, testified that Mr. Edmond “went above

and beyond what any normal cooperator would do.” Id. at 68.

     As outlined above, the government divides Mr. Edmond’s

cooperation into four categories. Gov’t’s Mot., ECF No. 215 at

3-4. With regard to the first category, Mr. Edmond testified in

two criminal trials. Gov’t’s Proposed Findings of Fact, ECF No.

299 at 2-3 ¶¶ 6-7. The usefulness of Mr. Edmond’s testimony as a

government witness is undisputed here. See id.; see also Def.’s

Post-Hr’g Br., ECF No. 300 at 4-5.

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     A former prosecutor—who was “responsible for preparing

[Mr. Edmond] and sponsoring his testimony at trial” in the Gray

case—stated that: (1) “Mr. Edmond was fully cooperative”;

(2) “[the prosecution] found his testimony credible”; and

(3) “he was an important witness at trial.” Letter from Amy

Jeffress (Dec. 27, 2019), ECF No. 301 at 1. At the time that

Mr. Edmond was cooperating with the government regarding the

Gray case, Ms. Watkins, a former police officer, was detailed to

the FBI and was working undercover. Mot. Hr’g Tr., ECF No. 273

at 60. Ms. Watkins testified that “Mr. Edmond supplied

information regarding the Kevin Gray case and a few other

cases,” and she “was with the prosecutor that went to interview

[Mr. Edmond].” Id. at 61.

     Ms. Watkins further testified that Mr. Edmond “gave

extensive testimony which resulted in the convictions” in the

Gray case, and Mr. Edmond participated in a debrief session with

the government about the Gray case where law enforcement “could

[not] keep up with how fast he was giving us the information, so

we were trying to write, and he [was] steadily pouring out the

information.” Id. at 61. Mr. Edmond “was very, very upfront and

informative.” Id. Ms. Watkins recalled that Mr. Edmond provided

information to her on at least four to five different cases. Id.

at 62. When asked to rate Mr. Edmond’s cooperation on a scale of

one to ten, Ms. Watkins testified that Mr. Edmond “was very

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productive. On a scale of 1 to 10, 11.” Id.

     As to the criminal trial in the Western District of North

Carolina, Mr. Dominguez described Mr. Edmond’s willingness to

testify as a government witness. Id. at 86. Mr. Edmond confirmed

that he, in fact, provided testimony during the trial in North

Carolina about the defendant who sold drugs and purchased drugs

from Mr. Edmond. Id. at 150. The government acknowledged that

Mr. Edmond testified on behalf of the government in that drug

trafficking trial. Gov’t’s Proposed Findings of Fact, ECF No.

299 at 3 ¶ 7.

     With respect to the second category, it is beyond dispute

that Mr. Edmond provided background information to law

enforcement concerning narcotics trafficking investigations. See

id. at 3-4 ¶¶ 9-10; see also Def.’s Post-Hr’g Br., ECF No. 300

at 4. Mr. Dominguez testified that Mr. Edmond provided useful

information as a confidential informant during the investigation

of Phyllis Webster (“Ms. Webster”). Mot. Hr’g Tr., ECF No. 273

at 86-87. Previously, Mr. Edmond had sold a kilogram of cocaine

to Ms. Webster. Id. at 86. Mr. Dominguez further testified that

Mr. Edmond’s information assisted the government in 1999 in

“building a wiretap investigation against [Ms. Webster] and her

supplier.” Id. at 87.

     Mr. Dominguez testified that Mr. Edmond assisted law

enforcement with interpreting “thousands and thousands” of hours

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of wiretaps. Id. at 80. The usefulness of Mr. Edmond’s

information is evident because the government obtained wiretaps

in narcotics investigations based on information provided by

Mr. Edmond and others. Mr. Edmond’s information, along with the

information from others, led to 111 indictments and 340

convictions. Gov’t’s Proposed Findings of Fact, ECF No. 299 at

3-4 ¶ 10.

     As to the third category, it is undisputed that Mr. Edmond

“provided information to the local cold case squad to assist in

solving old homicides in the District of Columbia,” and he

“participated in monthly telephone calls with the assigned AUSA,

who relayed questions from law enforcement, which allowed them

to collect information about relationships between the decedents

and suspects not otherwise known to the investigators.” Id. at 4

¶ 11; see also Def.’s Post-Hr’g Br., ECF No. 300 at 6. Mr.

Edmond testified that he provided information to law enforcement

about cold case homicides, stating that law enforcement “had

about 3,000 cold cases, and they wanted to close them.” Mot.

Hr’g Tr., ECF No. 273 at 148. Mr. Watkins testified that Mr.

Edmond’s information about the cold case homicides was “very

helpful.” Id. at 67. According to the government, Mr. Edmond’s

information, including historical information, was helpful to

homicide detectives with limited resources. Gov’t’s Proposed

Findings of Fact, ECF No. 299 at 4 ¶ 11.

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     Finally, Mr. Edmond’s assistance to the IG resulted in a

complete reevaluation of BOP’s inmate telephone system. Id. at 5

¶ 12. As outlined above, Ms. Perry received the benefit of

Mr. Edmond’s substantial assistance as to her sentence reduction

under Rule 35(b), which included the government’s indication

that Mr. Edmond was willing to provide testimony to Congress

about issues related to drug trafficking and prison reform. See

Gov’t’s Mot. for Sentencing Reduction, Perry, Crim. Action No.

89-162-24, ECF No. 293 at 7-8 ¶ 14. While a Congressional

committee heard testimony in 2000 from an IG official about

Mr. Edmond’s involvement in using prison telephones to commit

crimes, the Court distinguishes Mr. Edmond’s willingness to

potentially testify before Congress in the fall of 1997 as

relevant to Ms. Perry’s case from his cooperation with respect

to the IG’s review of BOP’s inmate telephone system in this

case.

     Prior to the IG’s review of the telephone system,

Mr. Benjamin testified that “Mr. Edmond was simply one of many

[who] were on the phones at [USP] Lewisburg conducting anything

from tax fraud to major drug deals.” Mot. Hr’g Tr., ECF No. 273

at 58. “And [the inmates] would simply make a collect call, have

their person outside [of the prison] forward them to Colombia or

wherever, and arrange a drug deal.” Id. After the issue with the

telephone system became public, Mr. Dominguez testified that DOJ

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sought to implement changes to the telephone privileges of

inmates and investigate the issue. Id. at 92-94. Mr. Dominguez

coordinated the appointments and interviews between Mr. Edmond

and the IG’s office. Id. at 92.

     Mr. Benjamin testified that Mr. Edmond’s cooperation

assisted DOJ and BOP with “fixing the problem with the phone

systems.” Id. at 58. Mr. Dominguez explained that Mr. Edmond’s

“information was a great force for change,” id. at 93; and

Mr. Edmond “help[ed] [BOP] accomplish their mission of

incapacitating people who have been removed from society for

crimes,” id. at 94. Specifically, “[Mr.] Edmond was candid about

how easy it was for [him] and other inmates to abuse the

privileges to make criminal phone calls on these phones to, as

[Mr.] Edmond says, make collect phone calls to Colombia to order

up kilo[grams of cocaine] to be delivered to people in D.C. or

Baltimore.” Id. Mr. Dominguez further testified that IG

officials “spent a lot of time interviewing [Mr.] Edmond about

the vulnerabilities of the phone system.” Id. As a result, the

IG’s office issued a report, and BOP implemented certain

changes, including: (1) “inmates are not allowed to make collect

phone calls”; (2) inmates are prohibited from making three-way

calls; and (3) inmates “can only call certain people on approved

phone calling lists.” Id.



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     The Court credits the government’s evaluation of

Mr. Edmond’s substantial assistance, and the testimony of the

prosecutor and former law enforcement officials who, during the

motion hearing, attested to Mr. Edmond’s extensive cooperation.

The Court observes that certain witnesses—Mr. Edmond,

Mr. Parker, and Rev. Wilson—testified about Mr. Edmond’s

assistance in negotiating a “truce” between two gangs in 1997,

which contributed to a decline in violence in the Simple City

Benning Terrace. See Mot. Hr’g Tr., ECF No. 273 at 113-17, 120-

22, 145-47; see also Def.’s Post-Hr’g Br., ECF No. 300 at 6. The

government, however, did not present any information regarding

Mr. Edmond’s involvement with brokering the truce. Although the

Court credits the testimony of these witnesses, the Court defers

to the government’s assessment of Mr. Edmond’s substantial

assistance.

     After carefully considering the government’s factual

proffers, the parties’ submissions, and the sworn testimony of

the witnesses, the Court finds that Mr. Edmond has provided

substantial assistance within the meaning of Rule 35(b)(2)(C).

       B. Mr. Edmond Is Entitled to a Discretionary Sentence
          Reduction by an Amount Greater than the Government’s
          Recommendation

     The Court turns to the second step of the Rule 35(b)

analysis. See Tadio, 663 F.3d at 1048 (“If a defendant has

provided substantial assistance, the court proceeds to the

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second step and determines the extent to which the defendant’s

sentence should be reduced.”). “At this step, the non-assistance

factors of § 3553(a) properly guide a district court’s exercise

of its discretion in determining the extent of the reduction.”

Id.

      The Court first evaluates the scope of its discretion to

consider the Section 3553(a) factors to reduce Mr. Edmond’s

sentence, and then addresses the extent of the sentence

reduction.

                1. The Court’s Discretion to Reduce Mr. Edmond’s
                   Sentence Under Rule 35(b)

      The parties agree that the Court may exercise its

discretion to consider the Section 3553(a) factors and reduce

Mr. Edmond’s sentence. See Gov’t’s Post-Hr’g Br., ECF No. 298 at

3; see also Def.’s Post-Hr’g Br., ECF No. 300 at 9. 7 Indeed, the

D.C. Circuit has made clear that “[i]t is well established that

a Rule 35 motion . . . is addressed to the trial judge’s

discretion.” Pollard, 1988 WL 145115, at *1. The remaining

question is whether the Court may exercise its discretion to




7 The Court agrees with the majority view that a district court
may consider the Section 3553(a) factors when ruling on a Rule
35(b) motion. See, e.g., United States v. Doe, 932 F.3d 279, 284
(5th Cir. 2019) (“[N]othing in [Rule 35(b)] precludes
consideration of those factors.”), cert. denied, 140 S. Ct. 899
(2020); but see United States v. Grant, 636 F.3d 803, 816 (6th
Cir. 2011) (concluding that “the § 3553(a) factors have no role
in Rule 35(b) proceedings”).
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reduce a defendant’s sentence by an amount greater than the

government’s recommended sentence.

     In moving for a sentence reduction under Rule 35(b), the

government asserted that “[w]hether to reduce a sentence

pursuant to Rule 35 and the amount of any reduction is within

the discretion of the Court.” Gov’t’s Mot., ECF No. 215 at 6.

The government maintained that the Court “may consider the full

range of statutory sentencing factors under 18 U.S.C. § 3553,

irrespective of the direction in which those factors cut.” Id.

Initially, the government took the position in this case that

“[t]he Court may use those § 3553 factors to reduce the sentence

by an amount greater than, less than, or the same as what the

defendant’s assistance, considered alone, would warrant.” Id.

The government explained that “the amount of reduction should

always be determined in reference to the starting point and by

considering the § 3553 factors in combination with the amount of

assistance rendered by the defendant.” Id. (citing Tadio, 663

F.3d at 1055; United States v. Manella, 86 F.3d 201, 205 (11th

Cir. 1996) (per curiam)).

     Recognizing that the D.C. Circuit has not addressed this

issue, the government’s position reflected the same position

taken by the government in United States v. Tadio, 663 F.3d 1042

(9th Cir. 2011). See Id. at 6, 7 n.3. In Tadio, the government

argued that “a district court cannot rule in a vacuum, absent

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critical factors, and that Rule 35(b) does not prohibit the

consideration of [the] § 3553(a) factors in deciding to what

extent a defendant’s sentence should be reduced for substantial

assistance.” Tadio, 663 F.3d at 1046 (internal quotation marks

omitted). The government contended that “the district court did

not err in considering the non-assistance factors when it

decided whether to grant a sentence reduction greater than what

[the defendant’s] assistance, considered alone, warranted.” Id.

at 1044.

     The United States Court of Appeals for the Ninth Circuit

(“Ninth Circuit”) agreed with the government and affirmed the

district court’s consideration of the Section 3553(a) non-

assistance factors in determining the amount of the defendant’s

sentence reduction under Rule 35(b). Id. at 1055. The Ninth

Circuit explained:

           [A] Rule 35(b) proceeding is a resentencing in
           which the starting point is the original
           sentence,   and  in   which   the   amount  of
           assistance rendered by the defendant is the
           triggering factor for any reduction. The
           district court may properly consider the
           § 3553(a) factors in determining the amount of
           reduction and it may use those non-assistance
           factors to reduce the sentence by an amount
           greater than, less than, or the same as what
           the defendant’s assistance, considered alone,
           would warrant. But the amount of reduction
           should always be determined in reference to
           the starting point and by considering the non-
           assistance factors in combination with the
           amount   of   assistance   rendered    by  the
           defendant.

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Id.

      The government changed its position in this case, however.

Compare Status Hr’g Tr., ECF No. 236 at 45 (“[The government]

would ask the Court to consider the [Section 3553(a)] factors

only if the Court was going to impose less of a reduction than

the government asked for.”) and Gov’t’s Resp., ECF No. 224 at 7,

with Gov’t’s Mot., ECF No. 215 at 6. To support its position,

the government relies on persuasive authority for the

proposition that “this Court may consider [the Section 3553(a)]

factors only to grant a smaller reduction than requested by the

government, not to increase the reduction beyond the amount

justified by the defendant’s assistance alone.” Gov’t’s Post-

Hr’g Br., ECF No. 298 at 3 (citing cases). The parties agree

that the D.C. Circuit has not weighed in on this issue. See id.

at 4 n.2; see also Def.’s Resp., ECF No. 228 at 2 n.1.

      Federal appellate courts disagree “on the proper role

played by non-assistance factors in determining the extent of a

sentence reduction once a defendant has satisfied the

substantial assistance criterion of Rule 35(b).” Tadio, 663 F.3d

at 1047 (collecting cases). Some courts have held that a

district court may only consider the Section 3553(a) factors to

reduce a sentence by less than the amount that a defendant would

be entitled to based solely on the defendant’s assistance. E.g.,


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United States v. Mora, 703 F. App’x 836, 843 (11th Cir. 2017)

(“While a court may deny or limit the size of a sentence

reduction based on its consideration of factors other than the

defendant’s substantial assistance, it may only award a

reduction on the basis of the defendant’s substantial

assistance.”); United States v. Webster, 666 F.3d 1023, 1026

(7th Cir. 2012) (“[A] district court hearing a Rule 35(b) motion

may not use the § 3553(a) factors to further reduce the

defendant’s sentence once the value of his assistance has been

assessed.”); United States v. Rublee, 655 F.3d 835, 839 (8th

Cir. 2011) (“If the court decides to grant the Rule 35(b)

motion, its decision to limit the § 3553(e) reduction, as

opposed to extending it further downward, need not be based only

on factors related to the assistance provided.”).

     Other courts have held that a district court may consider

the Section 3553(a) factors to award a sentence reduction under

Rule 35(b) that is greater than, less than, or the same as the

reduction that the defendant’s assistance would warrant. E.g.,

Katsman, 905 F.3d at 675 (“Section 3553(a) does not limit the

consideration of those factors to the original sentencing

decision, nor does it prohibit courts from considering them

during a resentencing proceeding.”); United States v. Davis, 679

F.3d 190, 196-97 (4th Cir. 2012) (holding that a “district court

can consider other sentencing factors, besides the defendant’s

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substantial assistance, when deciding the extent of a reduction

to the defendant’s sentence after granting a Rule 35(b)

motion”); Tadio, 663 F.3d at 1043 (“The sentence imposed must be

related to the degree of assistance rendered, but a district

court may consider non-assistance factors in awarding a

reduction, whether that reduction is greater than, less than, or

equal to the reduction that a defendant’s assistance, considered

alone, would warrant.”). The Court is persuaded by the courts

that have held that a district court may consider the

Section 3553(a) factors in deciding the extent of a Rule 35(b)

reduction, including whether to award a greater reduction than

is warranted by the defendant’s assistance alone.

     A district court does not possess unfettered discretion in

the context of a Rule 35(b) motion. See Tadio, 663 F.3d at 1055

(“We caution that a resentencing under Rule 35(b) is not the

equivalent of a de novo sentencing.”). That being said, the

Court has the discretion to reduce Mr. Edmond’s sentence, and

the Court’s authority to do so has been triggered by

Mr. Edmond’s substantial assistance. See id. at 1047, 1055. And

the Court’s consideration of the Section 3553(a) factors to

reduce Mr. Edmond’s sentence by an amount greater than the

government’s recommended reduction does not “convert [this] Rule

35(b) proceeding into a full resentencing.” Gov’t’s Post-Hr’g

Br., ECF No. 298 at 3. The government’s position—that “this

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Court may consider [the Section 3553(a)] factors only to grant a

smaller reduction than requested by the government,” Gov’t’s

Post-Hr’g Br., ECF No. 298 at 3; and “it may do so only to

ensure that the government’s recommended assistance-based

reduction is not unreasonably generous,” id. at 5—reads

limitations into Rule 35(b) that do not exist. The text of Rule

35(b) does not support the government’s position. See Katsman,

905 F.3d at 675.

     Rule 35(b) provides that “[u]pon the government’s motion

made more than one year after sentencing, the court may reduce a

sentence if the defendant’s substantial assistance involved . .

. information the usefulness of which could not reasonably have

been anticipated by the defendant until more than one year after

sentencing and which was promptly provided to the government

after its usefulness was reasonably apparent to the defendant.”

Fed. R. Crim. P. 35(b)(2)(C) (emphasis added). Nothing in the

text of Rule 35(b) prohibits the Court’s consideration of the

Section 3553(a) factors in determining the extent of a sentence

reduction. See Katsman, 905 F.3d at 675 (“The use of ‘may’ in

Rule 35 implies discretion, and discretion can best be exercised

by considering the various sentencing factors.”). “Indeed, to

read Rule 35(b) as requiring the court to resentence a

defendant, considering only substantial assistance in isolation

from other factors, ‘leaves too little discretion for the court

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to exercise’ in determining whether a reduced sentence is

warranted or prudent under the circumstances.” Id. (quoting

Manella, 86 F.3d at 204–05).

     As Mr. Edmond points out, “the extent of any reduction

granted is within the court’s discretion,” and “the Court should

consider [the] government’s recommendation as a starting point

for its analysis.” Def.’s Post-Hr’g Br., ECF No. 300 at 9.

Furthermore, the Court is not bound by the government’s

recommendation. See United States v. Grant, 493 F.3d 464, 467

(5th Cir. 2007) (“[O]nce the government moves for a reduction in

sentence, the sentencing court is not bound by the government’s

recommendation on whether or how much to depart but must

exercise its independent discretion.”); see also United States

v. Washington, 293 F. Supp. 2d 930, 932-33 (E.D. Wis. 2003)

(concluding that a reduction greater than the government’s

recommended reduction was warranted).

     In the government’s own words, district courts “are of

course not bound to follow [the government’s] recommendation

just because [the government] sponsored [a Rule 35(b)] motion.”

United States v. Jonathan L. Franklin, Crim. Action No. 04-128-

01 (RMC), Resentencing Hr’g Rough Tr. (D.D.C. Apr. 13, 2012) at

8. In Franklin, the government asserted that “[o]nce [the

government] sponsor[s] the [Rule 35(b)] motion and [the district

court] grant[s] the motion finding good cause for [a]

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substantial assistance departure, [then the district court has]

the discretion to impose” a sentence reduction. Id. The court

agreed, granted the Rule 35(b) motion, rejected the government’s

recommendation of 420 months of imprisonment, and reduced the

defendant’s life sentences to thirty years. Id. at 1, 47; see

also Franklin, Crim. Action No. 04-128-01 (RMC), Am. J & C,

(D.D.C. May 8, 2012), ECF No. 1195 at 4.

                              *     *     *

     In sum, Rule 35(b) vests the Court with the discretion to

reduce a sentence by an amount it deems appropriate under the

circumstances after it finds that the defendant has provided

substantial assistance and taking into account the degree of

assistance rendered by the defendant. Because the Court must

exercise its independent discretion to determine the extent of

the sentence reduction under Rule 35(b), it will consider the

Section 3553(a) non-assistance factors to guide its exercise of

discretion in reducing Mr. Edmond’s sentence.

               2. Consideration of the Section 3553(a) Factors to
                  Determine the Extent of the Reduction and the
                  Term of Supervised Release

     In fashioning an appropriate sentence, a district court

considers the following seven factors:

          (1) the nature and circumstances of the
          offense and the history and characteristics of
          the defendant; (2) the need for the sentence
          imposed—(A) to reflect the seriousness of the
          offense, to promote respect for the law, and
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          to provide just punishment for the offense;(B)
          to afford adequate deterrence to criminal
          conduct;(C) to protect the public from further
          crimes of the defendant; and (D) to provide
          the defendant with needed educational or
          vocational training, medical care, or other
          correctional treatment in the most effective
          manner;(3)     the    kinds     of    sentences
          available;(4) the kinds of sentence and the
          sentencing range established for—(A) the
          applicable category of offense committed by
          the applicable category of defendant as set
          forth in the guidelines . . . (5) any pertinent
          policy statement . . .(6) the need to avoid
          unwarranted    sentence    disparities    among
          defendants with similar records who have been
          found guilty of similar conduct; and (7) the
          need to provide restitution to any victims of
          the offense.


18 U.S.C. § 3553(a). “A district court, however, need not

consider every § 3553(a) factor in every case.” United States v.

Fry, 851 F.3d 1329, 1332 (D.C. Cir. 2017) (citation and internal

quotation marks omitted).

     Section 3553(a) calls for “an individualized assessment

based on the facts presented.” Gall v. United States, 552 U.S.

38, 50 (2007). That section requires the Court to “impose a

sentence sufficient, but not greater than necessary, to comply

with the purposes” of sentencing. 18 U.S.C. § 3553(a).

Consideration of the Section 3553(a) factors to determine the

extent of a sentence reduction is prudent because “[i]n some

instances, . . . a defendant’s individual circumstances will

have changed, or information that sheds new light on the nature

of the offense will have emerged, since the date of sentencing.”
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Tadio, 663 F.3d at 1053.

     “Rule 35(b) authorizes a district court to reduce any

aspect of a defendant’s sentence, including supervised release

terms and orders of restitution not mandated by statute.” United

States v. Spallone, 399 F.3d 415, 424 (2d Cir. 2005). Supervised

release “serves an entirely different purpose than the sentence

imposed under § 3553(a),” Pepper, 562 U.S. at 502 n.15; and it

“fulfills rehabilitative ends, distinct from those served by

incarceration.” United States v. Johnson, 529 U.S. 53, 54

(2000). A district court may “extend a term of supervised

release if less than the maximum authorized term was previously

imposed, and may modify, reduce, or enlarge the conditions of

supervised release, at any time prior to the expiration or

termination of the term of supervised release.” 18 U.S.C.

§ 3583(e)(2). In doing so, the Court must consider the factors

set forth in Section 3553(a)(1), (a)(2)(B), (a)(2)(C),

(a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7). 18 U.S.C.

§ 3583(e). 8

     For the reasons explained below, the Section 3553(a)

factors weigh in favor of reducing Mr. Edmond’s sentence and

imposing a life term of supervised release.




8 Mr. Edmond has no restitution obligation because there are no
statutorily defined victims, rendering inapplicable the seventh
factor under Section 3553(a)(7). See J & C, ECF No. 217 at 1-4.
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                   a. Nature and Circumstances of the Offenses and
                      the History and Characteristics of the
                      Defendant

                              i. Nature and Circumstances of the
                                 Offenses

     As to the nature and circumstances of the offenses, the

starting point is the original sentence, and Mr. Edmond’s

sentence of mandatory life imprisonment reflects the nature and

circumstances of his crimes. See 18 U.S.C. § 3553(a)(1); see

also Tadio, 663 at 1055. Mr. Edmond’s offenses—violations of 21

U.S.C. §§ 843(b), 848(b), 853, 861 and 18 U.S.C. § 1952(a)—are

very serious. See Edmond, 52 F.3d at 1087. Mr. Edmond

acknowledges that his criminal conduct resulted in “devastation

and destruction.” Def.’s Post-Hr’g Br., ECF No. 300 at 4. As the

government correctly points out, Mr. Edmond “stands convicted of

having run one of our city’s largest and most destructive

narcotics distribution operations,” and “after having been

convicted of that, he went on to run a large scale narcotics

distribution operation from prison.” Gov’t’s Mot., ECF No. 215

at 7-8.

     Based on the views of the community gathered by the

Attorney General, “Mr. Edmond had a profound and personal impact

on the lives of District residents, and community members in all

eight wards were grateful to the Court for hearing their

voices.” Amicus Br., ECF No. 246 at 9. Some residents of the


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District recounted the harms caused by Mr. Edmond’s crimes,

including drug addiction, death, the spread of the crack

epidemic, and “its lingering impact on the District.” Id. at 16.

Other residents, however, attributed the crack epidemic to

“racially motivated policies of the federal government and that

Mr. Edmond was a victim of those policies.” Id. While some

residents opposed Mr. Edmond’s release from custody, id. at 12-

13; others believed that he “has already served enough time for

his crimes” and that “a life sentence for drug offenses was

excessive[,]” id. at 14. And some residents cited a host of

reasons for why thirty years in prison is “sufficient

punishment,” including the financial cost to taxpayers and that

individuals change after a number of years. Id. at 15. While

there are no statutorily defined victims in this case, it is

appropriate for the Court to take into consideration the impact

Mr. Edmond’s criminal conduct had on the community. Here, the

government explicitly asks the Court to take into account the

harm Mr. Edmonds inflicted upon the community. Mot. Hr’g Tr.,

ECF No. 273 at 31.

     Mr. Edmond concedes the seriousness of his underlying

criminal conduct, and he expresses remorse for his actions. See

id. at 138 (“I just knew [selling drugs] was wrong . . . I just

felt sick about it, you know, because I was hurting people. I

had already hurt my family . . . ”); id. at 154 (“I’m very

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remorseful . . I’m sorry for everybody that I hurt . . . ”). As

previously stated, the Court found Mr. Edmond’s testimony to be

credible, and the government declined to cross examine him. Mr.

Edmond admittedly devastated the community, but he has served

more than thirty years in prison for his crimes in this case.

See Gov’t’s Mot., ECF No. 215 at 7. Furthermore, the government

emphasizes that there is no “direct evidence of Mr. Edmond being

implicated in the acts of violence” related to the criminal

enterprise. Mot. Hr’g Tr., ECF No. 273 at 49-50. In fact, “at

the 1989 trial the government did not adduce evidence of any

violent crimes.” Gov’t’s Resp., ECF No. 224 at 4.

                             ii. Mr. Edmond’s History and
                                 Characteristics

     Mr. Edmond’s history and characteristics favor a sentence

reduction and an extended period of supervision. Mr. Edmond is a

native of the District, and he was primarily raised by his

mother. PSR, ECF No. 230 at 17 ¶ 49. His parents never married,

and his father spent the majority of his time outside of the

household. Id. According to Mr. Edmond, he was born into a life

of crime because some individuals in his neighborhood, including

his own family members, sold drugs when he was a child. Mot.

Hr’g Tr., ECF No. 273 at 155. Nonetheless, Mr. Edmond takes full

responsibility for his actions. Id.

     Mr. Edmond graduated from high school, and he is the father


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of two children. PSR, ECF No. 230 at 17 ¶ 50, 18 ¶ 53.

Mr. Edmond has two granddaughters. Mot. Hr’g Tr., ECF No. 273 at

156. Mr. Edmond has many supportive family members, friends, and

religious leaders. See, e.g., id. at 119, 122, 125-27, 130-35;

Letter from Rachelle Edmond-Millington (Nov. 8, 2019), ECF No.

287 at 1-2; Letter from Elpiniki N. Koudellou (Nov. 7, 2019),

ECF No. 288 at 1-2. Although some of Mr. Edmond’s family members

were co-defendants, none of them have been re-arrested or

reincarcerated. Mot. Hr’g Tr., ECF No. 273 at 157. Mr. Edmond’s

family members are homeowners and business owners who have

defied the statistical odds of recidivism. Id. at 99-100, 157.

     Mr. Edmond was twenty-four years old when he was

incarcerated for his crimes in this case. See Gov’t’s Mot., ECF

No. 215 at 7. The Court gives considerable weight to the fact

that Mr. Edmond had no prior criminal history before this case.

See Def.’s Post-Hr’g Br., ECF No. 300 at 11; see also PSR, ECF

No. 230 at 15 ¶¶ 37-38. Mr. Edmond, however, continued to engage

in criminal activity at USP Lewisburg following his sentence in

this case. Placing in context this criminal conduct, Mr. Watkins

testified that Mr. Edmond’s further crimes while in prison

reflected “pressure[] to maintain his status, as any of the high

profile prisoners are in the penitentiary.” Mot. Hr’g Tr., ECF

No. 273 at 65. Mr. Watkins explained that Mr. Edmond “had to

maintain whatever [he] came in there from the street for. If

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not, [he] went to the lower order, the lower rung of the ladder

amongst all the prisoners and [would be] treated completely

differently, so [he was] pretty much forced into maintaining the

same posture [he] had before [he] came to prison.” Id. Despite

such pressure, Mr. Edmond seized on the opportunity to “get out

of the game” through cooperation. Id.

                              iii. Mr. Edmond’s Cooperation and
                                   Character

     The Court may also consider Mr. Edmond’s cooperation with

the government under Section 3553(a)(1). See United States v.

Kaufman, 791 F.3d 86, 90 (D.C. Cir. 2015). “No matter how

horrible an offender’s crimes, how unlikely his prospect of

rehabilitation, how dangerous he might be, an informer deserves

a reward for the benefit conferred on society by his assistance

in investigating and prosecuting wrongdoers.” United States v.

Torres Teyer, No. 01 CR. 21 (GEL), 2006 WL 3511885, at *8

(S.D.N.Y. Dec. 6, 2006). To reward Mr. Edmond for his

cooperation, the government moved to reduce his sentence in this

case.

     The Court takes into account Mr. Edmond’s decades-long

cooperation because it indicates that his “character is less

incorrigible than it may have otherwise appeared, and that the

need for protection of the public—a critical goal of sentencing

under § 3553(a)(2)(C)—is to some extent reduced.” Id. at *9. It


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is undisputed that Mr. Edmond “voluntarily began assisting the

government without having a written agreement in place.” Def.’s

Post-Hr’g Br., ECF No. 300 at 16. In 1994, Mr. Edmond began

cooperating with law enforcement, and he entered into a formal

cooperation agreement the next year. Gov’t’s Mot. for Sentencing

Reduction, Perry, Crim. Action No. 89-162-24, ECF No. 293 at 5 ¶

10. The Court credits Mr. Edmond’s sworn testimony that his

cooperation reflects his stated desire to right his wrongs. See

Mot. Hr’g Tr., ECF No. 273 at 154. With respect to his decision

to cooperate with the government, Mr. Edmond explained: “I was

looking for a way out, and I figured if I start cooperating with

the government, that would give me a way, I wouldn’t have to

sell drugs again.” Id. at 141. As such, Mr. Edmond’s decision

demonstrates his efforts to cut ties with the criminal world.

See id. at 141-42.

     The Court also considers the degree of Mr. Edmond’s

cooperation. Having already determined that Mr. Edmond provided

substantial assistance, the Court finds that the degree of his

substantial assistance is very high. The uncontroverted

testimony of Mr. Dominguez, Ms. Watkins, Mr. Benjamin, and

Mr. Watkins indicates that the degree of Mr. Edmond’s

cooperation was exceptionally high. As previously stated,

Mr. Dominguez testified that Mr. Edmond’s cooperation: (1) was

“off the chart”; (2) “[it was] extraordinary”; and (3) no other

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cooperation compares to Mr. Edmond’s cooperation during his

career as a federal prosecutor. Mot. Hr’g Tr., ECF No. 273 at

98. Ms. Watkins testified that Mr. Edmond’s cooperation “was

very productive. On a scale of 1 to 10, 11.” Id. at 62.

Mr. Benjamin testified that Mr. Edmond’s cooperation was

“[e]xceptional in every way” based on his experience of working

on several drug cases and with hundreds of cooperators during

his career. Id. at 55. On a scale of one to ten, Mr. Benjamin

rated Mr. Edmond’s cooperation at eleven. Id. at 57. Mr. Watkins

testified that Mr. Edmond “went above and beyond what any normal

cooperator would do.” Id. at 68.

     Apart from his formal cooperation with the government,

Mr. Edmond, Mr. Parker, and Rev. Wilson testified about certain

gang activity in 1997. Mot. Hr’g Tr., ECF No. 273 at 113-17,

120-22, 145-47. To his credit, “Mr. Edmond worked with the

Alliance of Concerned Men to intervene in and put an end to an

ongoing war between two youth gangs.” Def.’s Post-Hr’g Br., ECF

No. 300 at 6. While incarcerated, Mr. Edmond joined a meeting

via telephone with the members of the rival gangs, and his

“words had a clear impact as the violence decreased after the

meeting.” Id. In addition, Mr. Edmond spoke to at-risk youth on

a monthly basis, and he described to them the horrors of prison

life in hopes of steering them away from prison. Mot. Hr’g Tr.,

ECF No. 273 at 145. Mr. Edmond testified that he intends to

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continue assisting the government and helping the community upon

his release. See id. at 154.

     Bishop Steadman and Mr. Edmond “grew up together” and since

Mr. Edmond’s arrest in 1989, they maintained their personal

relationship through letters and telephone conversations. Id. at

131. Bishop Steadman testified that Mr. Edmond is not the same

person he was in 1989 because he is now a person of faith with a

sincere heart. Id. at 131-33. Bishop Steadman has facilitated an

opportunity for Mr. Edmond to speak to her congregation,

especially young people at her church. Id. at 132-33. In Bishop

Steadman’s view, Mr. Edmond’s experience will have a positive

impact on the nation, and it will deter others from taking a

similar path. Id. at 133.

     Weighing the nature and circumstances of the offenses,

Mr. Edmond’s history and characteristics, and his cooperation

and character, the Court finds that requiring Mr. Edmond to

serve a longer period of incarceration than the time he has

already served is not necessary. The Court also finds that a

life term of supervised release is warranted. Certain statutory

provisions, including 21 U.S.C. §§ 841(b), 861, authorize the

imposition of life terms of supervised release.




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                    b. The Need for the Sentence Imposed to Reflect
                       the Seriousness of the Offense, Promote
                       Respect for the Law, Provide Just Punishment
                       for the Offense, Afford Adequate Deterrence
                       to Criminal Conduct, Protect the Public from
                       Further Crimes of the Defendant, and Provide
                       the Defendant with Needed Educational or
                       Vocational Training, Medical Care, or Other
                       Correctional Treatment in the Most Effective
                       Manner

     The second and third factors also weigh in favor of

reducing Mr. Edmond’s sentence as well as imposing a life term

of supervised release. See 18 U.S.C. § 3553(a)(2), (3). The

government contends—and Mr. Edmond does not dispute—that the

Court should consider the gravity of his crimes. See Gov’t’s

Mot., ECF No. 215 at 7; see also Def.’s Post-Hr’g Br., ECF No.

300 at 9. Indeed, Judge Richey imposed the sentence to “reflect

the seriousness of the offense, to promote respect for the law,

and to provide just punishment for the offense[s].” 18 U.S.C.

§ 3553(a)(2)(A). The parties do not argue that serving more than

thirty years in prison has no deterrent effect. A longer period

of incarceration for Mr. Edmond is not necessary to deter

criminal conduct.

     Nor would requiring Mr. Edmond to serve life in prison

reflect the need for “educational or vocational training,

medical care, or other correctional treatment in the most

effective manner.” 18 U.S.C. § 3553(a)(2)(D). Mr. Edmond earned

a high school diploma in 1982, and he attended college for a


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brief period. PSR, ECF No. 230 at 18 ¶ 53. While incarcerated,

Mr. Edmond has taken educational and vocational courses in a

variety of subjects, including European Civilization and

religious studies, and he has completed a drug education

program. See Gov’t’s Sealed Submission, ECF No. 247-1 at 2-3, 6.

Mr. Edmond’s courses, including family budgeting and wellness,

and his work assignments demonstrate that he has taken advantage

of opportunities aimed at assisting him in the re-entry into the

community. See id. at 2, 6. The progress report from BOP states

that Mr. Edmond “is considered fully employable upon release.”

Gov’t’s Sealed Submission, ECF No. 247-1 at 4.

     Next, the Court considers Mr. Edmond’s disciplinary reports

under Section 3553(a)(2)(B)-(C). See 18 U.S.C. § 3553(a)(2)(B)-

(C) (“The court, in determining the particular sentence to be

imposed, shall consider . . . the need for the sentence imposed

to afford adequate deterrence to criminal conduct [and] to

protect the public from further crimes of the defendant.”).

Mr. Edmond’s disciplinary record includes a number of

infractions over the years. See Gov’t’s Sealed Submission, ECF

No. 247-1 at 3-4, 7-15, 18, 23-26, 28-36, 40-52, 54-58.

Nonetheless, the government has not presented—and the Court is

not aware of—any recent disciplinary infractions in Mr. Edmond’s

record. The most recent progress report shows that Mr. Edmond

incurred infractions in 1991, 1993, 1999, and 2007. Id. at 3-4.

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And the report states that “Mr. Edmond has not been a management

problem” and “[o]verall, his adjustment has been considered

satisfactory.” Id. at 2.

     Mr. Edmond’s disciplinary record is not spotless, but it

underscores the need for the extension of the previously-imposed

terms of supervised release. Neither party, however, points to

Mr. Edmond’s disciplinary infractions as an impediment to his

sentence reduction. On balance, the Court cannot find that a

longer period of incarceration for Mr. Edmond is necessary to

deter criminal conduct or protect the public from future crimes.

                   c. The Applicable Sentencing Guidelines Range

     Using the applicable Sentencing Guidelines in effect at the

time of sentencing, the Probation Officer calculated a final

offense level of 42 and a Criminal History Category of I. Letter

from Glenn R. Schmitt, U.S. Sentencing Comm’n (Sept. 27, 2019),

ECF No. 262 at 1 [hereinafter “Sentencing Comm’n Letter”].

Mr. Edmond’s CCE conviction carried a mandatory life sentence.

Id. at 2. Before application of U.S.S.G. § 5G1.1, Mr. Edmond’s

guidelines range was 360 months (i.e. thirty years) to life. Id.

at 1. Because Mr. Edmond faced a minimum penalty of life

imprisonment, the Guidelines range was life to life. Id. (citing

U.S.S.G. § 5G1.1).

     Using the Sentencing Guidelines in the Sentencing

Commission’s 2018 Guidelines Manual for purposes of this Rule

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35(b) proceeding, the Probation Officer determined that the

applicable guideline for Counts Five, Fourteen, Fifteen,

Sixteen, and Eighteen was U.S.S.G. § 2D1.1, and the applicable

guideline for Count Eleven was U.S.S.G. § 2E1.2. Probation Mem.,

ECF No. 265 at 2. The Probation Officer excluded Count One—the

CCE conviction—because 21 U.S.C. § 848(b) requires a mandatory

life sentence. Id. The Probation Officer grouped together Counts

Five, Eleven, Fourteen, Fifteen, Sixteen, and Eighteen under

U.S.S.G. § 3D1.2(d). Id. The Probation Officer calculated a base

offense level of 34.

     The Probation Officer applied a two-level increase under

U.S.S.G. § 2D1.1(b)(1) because a firearm or dangerous weapon was

possessed during the commission of the offenses, and a four-

level increase under U.S.S.G. § 3B1.1(a) for Mr. Edmond’s role

as the leader of an organization involving more than five

participants. Probation Mem., ECF No. 265 at 2-3. The Probation

Officer calculated a total offense level of 40. Id. at 3.

Mr. Edmond’s total offense level, combined with Criminal History

Category I, resulted in a sentencing range of 292 to 365 months

(i.e. 24.3 to 30.4 years) before the application of U.S.S.G.

§ 5G1.1. Sentencing Comm’n Letter, ECF No. 262 at 2. “Regardless

of the foregoing, though, engaging in a [CCE] in violation of 21

U.S.C. § 848(b) is punishable by a mandatory life sentence.”

United States v. Millan, No. 91-CR-685 (LAP), 2020 WL 1674058,

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at *3 (S.D.N.Y. Apr. 6, 2020).

     Mr. Edmond objects to the two-level increase under U.S.S.G.

§ 2D1.1(b)(1) for possession of a firearm or dangerous weapon on

two grounds: (1) he “has no such convictions”; and (2) “[i]t is

well settled that any fact which increases the mandatory minimum

is considered an ‘element’ of the crime and must be submitted to

the jury.” Def.’s Post-Hr’g Br., ECF No. 300 at 15 n.3 (citing

United States v. Alleyne, 570 U.S. 99 (2013)). Mr. Edmond’s

reliance on Alleyne is misplaced. In Alleyne, the Supreme Court

held that “any fact that . . . increases the mandatory minimum

is an element that must be submitted to the jury.” 570 U.S. at

103 (internal quotation marks omitted). The Supreme Court

explained that “[a]ny fact that, by law, increases the penalty

for a crime is an element that must be submitted to the jury and

found beyond a reasonable doubt.” Id. Nothing of the kind is

present here.

     The application of the two-level increase under U.S.S.G.

§ 2D1.1(b)(1) does not increase Mr. Edmond’s penalty beyond the

statutory minimum or maximum, as Mr. Edmond already faces a

mandatory life sentence for his CCE conviction under 21 U.S.C.

§ 848(b). As the D.C. Circuit has explained, “Alleyne . . .

dealt with an increase to the statutory range—not increases to a

defendant’s range under the Sentencing Guidelines[.]” United

States v. Bell, 795 F.3d 88, 104 (D.C. Cir. 2015). At bottom,

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the issue of whether the two-level increase is applicable here

does not change the fact that the starting point is Mr. Edmond’s

mandatory life sentence. Cf. Millan, 2020 WL 1674058, at *3.

     The Court rejects Mr. Edmond’s argument that his mandatory

life sentence for his conviction under 21 U.S.C. § 848(b) should

not be considered as a starting point and U.S.S.G. § 5C1.2 (the

“Safety Valve”) abrogated his mandatory minimum sentence for two

reasons. See Mot. Hr’g Tr., ECF No. 273 at 188-89. First, the

original sentence is the starting point in the Rule 35(b)

context. Tadio, 663 F.3d at 1055. The government correctly notes

that “[t]he mandatory life sentence that was imposed on

[Mr. Edmond] is the proper benchmark from which the Court should

measure any sentence reduction – not an irrelevant Guidelines

range.” Gov’t’s Resp. to Def.’s Am. Sentencing Mem., ECF No. 263

at 3 n.3. And Mr. Edmond appears to concede this point. See

Joint Status Report, ECF No. 264 at 2 (Mr. Edmond’s Position:

“[T]he focal point of Mr. Edmond’s original sentence was the

mandatory life provision under § 848 ([CCE]).”).

     Next, the government argues—and Mr. Edmond does not

dispute—that the “Safety Valve” under U.S.S.G. § 5C1.2 does not

apply here because of Mr. Edmond’s CCE conviction. Gov’t’s Post-

Hr’g Br., ECF No. 298 at 6; see generally Def.’s Post-Hr’g Br.,

ECF No. 300. To be eligible for the Safety Valve under Section

5C1.2 of the Guidelines, a court must find, inter alia, that the

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defendant “was not an organizer, leader, manager, or supervisor

of others in the offense, as determined under the sentencing

guidelines and was not engaged in a continuing criminal

enterprise, as defined in 21 U.S.C. § 848.” U.S.S.G.

§ 5C1.2(a)(4). Here, the Court cannot find that Mr. Edmond is

eligible for the Safety Valve under U.S.S.G. § 5C1.2 because of

Mr. Edmond’s CCE conviction.

       Although Mr. Edmond faces a mandatory life sentence under

21 U.S.C. § 848(b), Mr. Edmond argues—and the government does

not dispute—that Rule 35(b) allows the Court to reduce his

sentence below the mandatory sentence. See Def.’s Am. Sentencing

Mem., ECF No. 260 at 4 (citing Fed. R. Crim. P. 35(b)(4)); see

also Gov’t’s Resp. to Def.’s Am. Sentencing Mem., ECF No. 263 at

1-3.

                     d. The Need to Avoid Unwarranted Sentencing
                        Disparities

       As to the sixth factor, the Court considers “the need to

avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct.”

18 U.S.C. § 3553(a)(6). A reduction in Mr. Edmond’s sentence is

consistent with Section 3553(a)(6)’s requirement of treating

similarly situated defendants alike. See id. Mr. Edmond argues

that a reduction greater than the government’s recommendation is

justified after considering the sentences of other cooperating


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defendants. Def.’s Am. Sentencing Mem., ECF No. 260 at 5-7. To

support his position, Mr. Edmond relies on cases in which

defendants—specifically, Salvatore Gravano (“Mr. Gravano”) and

Alberto Martinez (“Mr. Martinez”)—offered substantial assistance

and the government recommended prison sentences of less than

forty years. Id. at 5-7.

     The government contends that its recommendation in this

case would not create an unwarranted sentencing disparity.

Gov’t’s Resp. to Def.’s Am. Sentencing Mem., ECF No. 263 at 2.

The government advances two primary arguments. First, “[t]he

D.C. Circuit . . . has recognized that sentence reductions for

cooperation do not create unwarranted disparities.” Id. (citing

United States v. Hemphill, 514 F.3d 1350, 1364 (D.C. Cir. 2008);

United States v. Bras, 483 F.3d 103, 114 (D.C. Cir. 2007)).

Next, the government contends that “it is neither feasible nor

productive to attempt to compare [Mr. Edmond’s] cooperation to

that of others in different times and places” because

“cooperation by its very nature is fact specific.” Id. at 3.

     The Court is not persuaded by the government’s arguments.

First, the government’s reliance on Hemphill and Bras is

misplaced because both cases are readily distinguishable from

this case. In Hemphill, the D.C. Circuit agreed with the

district court that the disparity was reasonable between the

defendant’s ten-year sentence and his co-conspirator’s five-year

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sentence because the co-conspirator “pled guilty and testified

against her co-conspirators.” 514 F.3d at 1364. In Bras, the

D.C. Circuit rejected the defendant’s argument that there was a

disparity between his thirty-seven month sentence and his co-

conspirators’ probation sentences because: (1) his co-

conspirators were not comparators; and (2) the co-conspirators

“provided substantial assistance in the investigation of the

scheme, while [the defendant] did not.” 483 F.3d at 114.

     Unlike the defendants in Hemphill and Bras, Mr. Edmond does

not attempt to compare his sentence to his co-defendants. See

Def.’s Am. Sentencing Mem., ECF No. 260 at 5-7. Contrary to the

government’s contention, Mr. Edmond does not ask the Court to

compare his cooperation with that of another defendant. See id.

Rather, Mr. Edmond argues that Mr. Gravano and Mr. Martinez are

similarly situated defendants. Id.

     Mr. Edmond points out that Mr. Gravano was sentenced to

five years of imprisonment based on the government’s

recommendation after he admitted to several crimes, including

nineteen murders. Id. at 6. And “[u]pon information and belief,”

Mr. Edmond asserts that “the government recommended a thirty-

five year sentence for [Mr.] Martinez, the leader of a drug

enterprise that admitted to killing ten people.” Id. at 7.

Mr. Edmond notes that Najibullah Zazi (“Mr. Zazi”), a convicted

terrorist, received a ten-year sentence based on the

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government’s recommendation. Id. at 7 n.5. Mr. Edmond, however,

fails to provide the Court with the records or details of the

alleged comparators, such as their Sentencing Guidelines ranges.

Without such information, the Court cannot discern whether Mr.

Gravano, Mr. Martinez, and Mr. Zazi are appropriate comparators

within the meaning of Section 3553(a)(6).

      Mindful of its obligation under Section 3553(a)(6) to

avoid unwarranted sentencing disparities among similarly

situated defendants, the Court requested that the Sentencing

Commission examine cases similar to Mr. Edmond’s case for

purposes of this Rule 35(b) proceeding. See generally Min. Order

of Oct. 7, 2019. The Sentencing Commission’s analysis was

threefold. First, the Sentencing Commission “examined cases with

identical guideline factors as that which applied in

Mr. Edmond’s case (but using the current guidelines manual) to

determine the sentence imposed in similar cases over the last

ten years.” Sentencing Comm’n Letter, ECF No. 262 at 1. Next,

the Sentencing Commission “examined offenders convicted under

each of the five statutes [applicable to Mr. Edmond] within the

last ten years where the guideline range in effect was life to

life to determine the sentenced imposed.” Id. Finally, the

Sentencing Commission “reviewed cases where a Rule 35(b) motion

was granted in the last five years and where the offender was

initially convicted under one of the five statutes [applicable

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to Mr. Edmond] and where the guideline range in effect at the

original sentencing was life to life.” Id. at 2. 9

      The Sentencing Commission’s September 2019 results, in

pertinent part, are as follows:

           For 21 U.S.C. § 848, 110 cases with at least
           a CCE conviction and a guideline minimum of
           life imprisonment were reported to the
           Commission in the past ten years. The
           defendants in twenty-eight of those cases
           received    a   departure   for    substantial
           assistance under U.S.S.G. § 5K1.1. The average
           sentence imposed was 181 months (or fifteen
           years), with sentences ranging from one day to
           360 months (or thirty years). In the past five
           years, six Rule 35(b) cases were reported to
           the Commission. The average sentence imposed
           in those Rule 35(b) cases was 185 months
           (fifteen   years   and  four   months),   with
           sentences ranging from 72 months to 396 months
           (i.e. six years to thirty years and two
           months).

Id.

      Having carefully considered the foregoing results, a

reduction of Mr. Edmond’s sentence greater than the government’s




9 Neither party objected to the Sentencing Commission’s analysis
with respect to the applicable Guidelines and statutes. See
Joint Status Report, ECF No. 264 at 1-2. The Court disregards
the Sentencing Commission’s analysis of 21 U.S.C. § 846 (Count
Two) because the D.C. Circuit vacated that conviction. See
Edmond, 52 F.3d at 1108, 1113. The Court agrees with Mr. Edmond
that the Sentencing Commission’s statement—that “Mr. Edmonds
[sic] was held responsible for several murders,” Sentencing
Comm’n Letter, ECF No. 262 at 2—is unsupported by the record.
See Joint Status Report, ECF No. 264 at 2 (“[T]here can be no
genuine dispute as to the lack of Mr. Edmond’s involvement in
murder.”). Accordingly, the murder guideline under U.S.S.G.
§ 2A1.1 is inapplicable here.
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recommendation is needed to “avoid unwarranted sentence

disparities among defendants with similar records who have been

found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6). On

average, Mr. Edmond’s sentence for the CCE conviction is out of

step with the sentences for CCE convictions and sentence

reductions in Rule 35(b) cases with CCE convictions. See

Sentencing Comm’n Letter, ECF No. 262 at 2.

                              *     *     *

     As the Court articulated during the October 16, 2019 motion

hearing, the task of rendering a decision in this case is

extraordinarily difficult and challenging. Mot. Hr’g Tr., ECF

No. 273 at 3-4. In determining an appropriate sentence

reduction, the Court must balance the applicable Section 3553(a)

factors, which includes considering the nature and degree of

Mr. Edmond’s substantial assistance. And the Court must balance

the gravity of Mr. Edmond’s crimes.

     On the one hand, Mr. Edmond’s crimes were exceptionally

grave. As the government points out, Mr. Edmond “conducted the

largest, most destructive drug organization that this city’s

ever seen.” Id. at 31. Mr. Edmond acknowledges that his criminal

conduct resulted in “devastation and destruction” in this

community. Def.’s Post-Hr’g Br., ECF No. 300 at 4. More than 500

residents of the District of Columbia responded to the Attorney

General’s solicitation for comment on the government’s motion to

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reduce Mr. Edmond’s sentence, which is a testament to the

lasting impact his criminal conduct has had on this community.

See Amicus Br., ECF No. 246 at 4. The Court is well aware of the

lasting negative impact Mr. Edmond’s criminal conduct has had on

this community. The Court recognizes the pain and suffering of

the individuals affected by his criminal conduct.

     On the other hand, Mr. Edmond has spent thirty-one years in

prison since the imposition of his sentence, and he has been

incarcerated for nearly thirty-two years since his initial

arrest. While incarcerated, Mr. Edmond cooperated with the

government. The government affirms that Mr. Edmond’s cooperation

“was important and wide and deep.” Mot. Hr’g Tr., ECF No. 273 at

31. Indeed, the Court has found that Mr. Edmond provided

substantial assistance to the government and that the degree of

his assistance was exceptionally high. In addition to Mr.

Edmond’s expressed remorse for his actions, Mr. Edmond’s

decision to cooperate—and his lengthy period of cooperation—is

an expression of genuine remorse. Mr. Edmond clearly provided

above-average cooperation. Furthermore, his cooperation

demonstrates that the need to protect the public from future

crimes has lessened. The Sentencing Commission’s data indicates

that the average sentencing reduction for a defendant convicted

of a CCE offense is fifteen years. Based on the Court’s detailed

analysis of the applicable Section 3553(a) factors, as set forth

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above, Mr. Edmond’s individual circumstances have changed since

the date of sentencing. See Tadio, 663 F.3d at 1053. The Court

is persuaded that it is appropriate to reduce Mr. Edmond’s life

sentence.

     After balancing the relevant Section 3553(a) factors, the

Court in its discretion finds that it is appropriate under the

facts and circumstances to reduce Mr. Edmond’s sentence and that

a sentence of twenty years of imprisonment is “sufficient, but

not greater than necessary, to comply with the purposes” of

sentencing. 18 U.S.C. § 3553(a). The Court also finds that a

life term of supervised release is necessary to fulfill the

postsentencing rehabilitation goals of supervised release. See

Pepper, 562 U.S. at 502 n.15; see also Johnson, 529 U.S. at 59.

               3. Remaining Considerations

     Finally, Mr. Edmond urges “the Court to consider the fact

that he has been confined under conditions that are

significantly more restrictive than other inmates.” Mot. Hr’g

Tr., ECF No. 273 at 34. Mr. Edmond notes that inmates with

similar restrictions face certain hardships due to restrictive

security measures. Def.’s Notice of Obj., ECF No. 270 at 1 n.1.

Citing information provided to the United States Senate’s

Permanent Subcommittee on Investigations of the Committee on

Governmental Affairs, Mr. Edmond points out that “a ‘protected

witness sentenced inmate, in terms of hardship of sentence,

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serves 3 days in equivalent for every 1 day of the general

population prisoner.’” Id. (quoting Def.’s Ex. 1, ECF No. 270-1

at 3). The BOP Director testified before the Subcommittee and

confirmed that “imprisoned protected witnesses frequently have a

tougher time in prison than do inmates who ARE NOT COOPERATING

WITH THE AUTHORITIES.” Def.’s Ex. 1, ECF No. 270-1 at 3. The

government does not deny that Mr. Edmond’s conditions of

confinement have been more restrictive than other inmates. Mot.

Hr’g Tr., ECF No. 273 at 187.

      To recap, Mr. Edmond initially agreed to cooperate with

law enforcement in 1994. Mot. Hr’g Tr., ECF No. 273 at 46-47,

58, 64, 70, 74. It is undisputed that Mr. Edmond’s cooperation

put his life and the lives of his family members at great risk

because: (1) his roommate was the “third largest cocaine

producing person in the world,” id. at 78; (2) his roommate’s

mother was the “Black [W]idow,” id. at 79; and (3) his fellow

inmates were Colombian drug dealers and leaders of the Medellín

Cartel, id. at 78, 82. After he decided to cooperate with the

government, Mr. Edmond’s movement was significantly more

restricted than other inmates. Id. at 147-148. Those

restrictions limited Mr. Edmond’s ability to communicate with

his family and the at-risk youth at the church. Id. at 148.

Mr. Edmond’s conditions of confinement were restricted up until

approximately 2018. Id.

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     Mr. Edmond does not cite any authority that permits the

Court to take into consideration that his conditions were

significantly more restrictive than other inmates in the context

of a Rule 35(b) motion. In a different context, a sentencing

judge may consider a deportable non-U.S. citizen’s conditions of

confinement. See, e.g., United States v. Smith, 27 F.3d 649, 650

(D.C. Cir. 1994) (holding that district courts may “depart below

the range indicated by the Sentencing Guidelines where the

defendant, solely because he is a deportable alien, faces the

prospect of objectively more severe prison conditions than he

would otherwise”). Although the Court is sympathetic to the

restrictive nature of Mr. Edmond’s conditions of confinement

during his cooperation over the years and his request for the

Court to consider those conditions, Mr. Edmond fails to cite

authority to support his request.

     The government argues that it would be inappropriate for

the Court to consider Mr. Edmond’s conditions, but the

government does not rely on case law in support of its position.

See Mot. Hr’g Tr., ECF No. 273 at 187. The government contends

that Mr. Edmond himself is to blame for the more restrictive

conditions of confinement based on his decision to cooperate

with the government. Id. The government asserts:

          With respect to Mr. Edmond’s time in prison
          being more difficult, we’re not quibbling with
          the defense, but we [sic] just asking the

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           Court to consider, that’s the product of what
           --   the  situation    Mr.  Edmond   was   in,
           Mr. Edmond’s cooperation, so it’s not really
           appropriate to say his time was more difficult
           than others, when that was all a product of
           his actions, his choices, and how he got here
           today vis-à-vis cooperating.

Id.

      The government’s position is perplexing given that it is at

odds with the rationales for cooperation. Cooperation benefits

society at large by furthering law enforcement’s efforts to

investigate and prosecute criminals, and it encourages others to

do the same. See Torres Teyer, 2006 WL 3511885, at *8. The

government received the benefit of Mr. Edmond’s decades-long

cooperation. There is no dispute that the details of his

cooperation placed his life in jeopardy. But the government’s

position ignores the grave risk to Mr. Edmond’s life and the

lives of his family members associated with his weighty decision

to cooperate with the government. Although the Court does not

consider the post-sentencing conditions of confinement, the

Court did consider Mr. Edmond’s cooperation when evaluating the

first factor under Section 3553(a)(1).

V.    Conclusion

      For the reasons set forth above, the Court GRANTS the

government’s Motion to Reduce Sentence pursuant to Rule

35(b)(2)(C). Mr. Edmond’s previously imposed sentence of

imprisonment is reduced to twenty years of imprisonment, and his

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previously imposed terms of supervised release are extended to a

life term of supervised release. An appropriate Order

accompanies this Memorandum Opinion.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          February 23, 2021




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